 

Case 3:19-mj-00185-HTC Document 1 Filed 08/09/19 Page 1 of 1

AO 91 (Rev. 08/09) Criminal Complaint

 

 

UNITED STATES DISTRICT COURT

 

for the ——, (rene) SDN JIVULSIOVW SN
Northern District of Florida VaIdOTd LYLSId NUJHLUON
United States of America (2a) aa

 

Vv.

David C. Williams

)

)

) ' .

) case No. 3: 14m y IZ5
FILED August 4 2014

(Date) 4 ~
NORTHERN DISTRICT FLORIDA,
CRIMINAL COMPLAINT US MAGISTRATE JUDGE (toniats) ORK.

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. i

Defendant(s)

On or about the date(s) of July 1, 2017- Present in the county of Escambia in the Northern District of Florida,
the defendant(s) violated:

Code Section Offense Description
18 U.S.C. Sections 1952(a)(3) and -Interstate travel/use of a facility in aid of racketeering and money laundering conspiracy
1956(h) i
8 U.S.C. Section 1324(a)(1) -Harboring illegal aliens for commercial advantage or private financial gain

This criminal complaint is based on these facts:
See attached affidavit.

 

Continued on the attached sheet.

Complainant S>

Sworn to before me and signed in my presence. FBI Special Agent John Canning

Printed name and title

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City and state: Pensacola, Florida . .
U.S. Magistrate Judge Hope T. Cannon

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Printed name and title
